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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


 RowVaughn Wells, Individually and as                )
 Administratrix of the Estate of Tyre Deandre        )
 Nichols, Deceased,                                  )
                                                     )
                                                     )
          Plaintiff,                                 )
                                                     )
 v.                                                  )     CASE NO. 2:23-CV-02224
                                                     )     JURY DEMAND
 The City of Memphis, Tennessee; Chief Cerelyn       )
 Davis; Emmitt Martin III;                           )
 Demetrius Haley; Justin Smith;                      )
 Desmond Mills, Jr.; Tadarrius Bean;                 )
 Preston Hemphill; Robert Long;                      )
 JaMichael Sandridge; Michelle Whitaker;             )
 DeWayne Smith,                                      )
                                                     )
          Defendants.                                )


      DEFENDANT CITY OF MEMPHIS’S MOTION FOR PERMISSION TO TAKE
      DISCOVERY WITH REGARD TO PLAINTIFF’S POSSESSION OF SEALED
           DOCUMENTS FROM UNITED STATES v. BEAN, ET AL. TRIAL
             AND INCORPORATED MEMORANDUM IN SUPPORT


         Defendant the City of Memphis (the “City”), pursuant to Federal Rules of Civil Procedure

30, 33, and 34, files this Motion for Permission to Take Discovery with Regard to Plaintiff’s

Possession of Sealed Documents from United States v. Bean, et al. Trial. In support, the City states

as follows:

         1.      On March 10, 2025, Plaintiff produced documents in response to the City’s Fourth

and Fifth Sets of Requests for Production of Documents propounded to Plaintiff.

         2.      Plaintiff’s March 10, 2025 production included documents filed in the federal

criminal trial, United States v. Bean et al., No. 2:23-cr-20191 (W.D. Tenn.).
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         3.         These documents alarmingly appear to be exhibits filed under seal in the federal

criminal trial. Plaintiff’s counsel was not an attorney of record in the United States v. Bean case

and should not have access to these documents.. The City is filing the documents produced by

Plaintiff under seal in connection with this Motion for the Court’s consideration.

         4.         Upon information and belief, these documents were produced in response to the

City’s Request for Production No. 127:

                 REQUEST NO. 127: Any and all documents and/or communications
                 exchanged between and among You and the Court presiding over this
                 lawsuit. The City’s request No. 127 explicitly seeks, but is not limited to,
                 any and all documents and/or communications exchanged between You and
                 any employee or agent of the Western District of Tennessee. This includes,
                 but is not limited to, documents and/or communications between You and
                 any clerk, deputy, District Judge, and/or Magistrate Judge You have
                 corresponded with.

                 RESPONSE: Plaintiff objects to this Request because it is unduly
                 burdensome, seeks information that is not relevant, and is not
                 proportional to the needs of the case. Objecting further, Plaintiff’s
                 counsel has copied Defendant’s counsel on all communications with the
                 Court; therefore, this Request seeks documents that are already in
                 Defendant's possession or control, and are equally available to
                 Defendant as they are to Plaintiff. Plaintiff will not produce documents
                 in response to this Request.

         5.         Even though Plaintiff’s response to Request for Production No. 127 indicates that

Plaintiff would not be producing any documents in response to that request, it appears Plaintiff did

produce responsive documents, either inadvertently or pursuant to her obligations under the

Federal Rules of Civil Procedure.

         6.         The City respectfully requests the Court’s permission to take discovery related to

how Plaintiff came in possession of these sealed documents.

         7.         Specifically, the City requests the Court’s permission to take the deposition of

Plaintiff’s counsel and the person or person(s) whom communicated with and transmitted the

documents to Plaintiff’s counsel.
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         8.      The City also intends to use one or more of its Interrogatory Requests, pursuant to

Federal Rule of Civil Procedure 33, to require Plaintiff to provide a verified explanation of the

circumstances in which Plaintiff came into possession of these sealed documents.

         9.      The nature of the discovery the City seeks includes how, why, and when Plaintiff

received these sealed documents.

         10.     To the extent that Plaintiff inadvertently produced these documents, which are

responsive to Request for Production No. 127, the City seeks to discovery whether Plaintiff may

be in possession of other documents not produced.

         11.     Based on the foregoing, the City requests the Court allow it to take the deposition

of Plaintiff’s counsel and the person or person(s) whom communicated with and transmitted the

documents to Plaintiff’s counsel.

         Dated: March 21, 2025.

                                                      Respectfully submitted,


                                                      BAKER, DONELSON, BEARMAN,
                                                      CALDWELL & BERKOWITZ, P.C.

                                                      s/ Bruce McMullen
                                                      Bruce McMullen (#18126)
                                                      Freeman B. Foster (#23265)
                                                      Jennie Vee Silk (#35319)
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                                                      ffoster@bakerdonelson.com

                                                      Attorneys for Defendant City of Memphis,
                                                      Chief Cerelyn Davis in her Individual
                                                      Capacity, and Dewayne Smith as Agent of
                                                      the City of Memphis


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                               CERTIFICATE OF CONSULTATION
       I, Bruce McMullen, hereby certify that on March 21, 2025, counsel for the City consulted
with counsel for the other parties regarding the relief requested in this Motion. The parties were
asked whether they oppose the request relief in this Motion. A chart detailing the parties’ responses
is below:

                   Party               Responding Counsel                    Opposition?
                  Plaintiff                Josh Levin                            Yes
                 Hemphill                Betsy McKinney                          No
                 D. Smith                Betsy McKinney                          No
                  J. Smith                     n/a                           No response
                    Long                  Darrell O’Neal                         No
                 Sandridge                     n/a                           No response
                 Whitaker                      n/a                           No response
                   Haley                       n/a                           No response
                    Bean                       n/a                           No response
                 Martin III                    n/a                           No response
                  Mills, Jr.                   n/a                           No response


                                                              s/ Bruce McMullen
                                                              Bruce McMullen

                                 CERTIFICATE OF SERVICE

       I, Bruce McMullen, hereby certify that on March 21, 2025, I electronically filed the
foregoing with the clerk of the court by using the CM/ECF system, and that upon filing, such
system will serve a copy of the foregoing upon all counsel of record in this action.


                                                              s/ Bruce McMullen
                                                              Bruce McMullen




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